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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION
  UNITED STATES OF AMERICA,          )
                                     )
  Plaintiff,                         )
                                     )
  v.                                 ) No. 4:22 MJ 3250 NCC
                                     )
  BOBBY L. PARKER,                   )
                                     )
  Defendant.                         )

                        MOTION FOR HEARING AND DETENTION

     Comes now the United States of America, by and through its attorneys, Sayler A. Fleming,

United States Attorney for the Eastern District of Missouri, and Geoffrey S. Ogden, Assistant

United States Attorney for said District, and moves the Court to order defendant detained pending

trial, and further requests that a detention hearing be held three (3) days from the date of defendant's

initial appearance before the United States Magistrate pursuant to Title 18, United States Code,

§3141, et seq.

     As and for its grounds, the Government states as follows:

     1. There is a serious risk that the defendant will flee.

     2.    Defendant is a threat to the community.

     WHEREFORE, the Government requests this Court to order defendant detained prior
 to trial, and further to order a detention hearing three (3) days from the date of defendant's

initial appearance.

                                                       SAYLER A. FLEMING
                                                       United States Attorney


                                                       _s/Geoffrey S. Ogden_________________
                                                       GEOFFREY S. OGDEN, #66930MO
                                                       Assistant United States Attorney
